                UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                 CASE NO. 20-CV-954-WO-JLW

                                   )
FARHAD AZIMA,                      )
                                   )
                Plaintiff,         )
                                   )
                 v.                )
                                   )
NICHOLAS DEL ROSSO and             )
VITAL MANAGEMENT SERVICES,         )
INC.,                              )
                                   )
                Defendants.        )

  DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO SET AN
INITIAL PRETRIAL CONFERENCE AND TO INITIATE RULE 26(f) AND
   LOCAL RULE 16.1(f) CONFERENCES AND REPORTING PROCESS




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                             OPPOSITION

    This Court recently dismissed nine of Plaintiff Farhad

Azima’s eleven asserted causes of action, and dismissed the

substantial bulk of the remaining two claims.                Defendants

have since moved to dismiss the remaining portions of the two

remaining claims for lack of subject matter jurisdiction un-

der Rule 12(b)(1).      Dkt. 67, 68.      As the pending jurisdic-

tional motion demonstrates, the Court no longer has original

jurisdiction over the matter because the federal causes of

action have been dismissed.       See 28 U.S.C. § 1331.          The sur-

viving allegations do not meet the amount-in-controversy re-

quirement   for   diversity     jurisdiction.         See   28     U.S.C.

§ 1332(a). As the motion further details, as a factual matter

Plaintiff lacks Article III standing to assert the surviving

trade-secret and related conspiracy causes of action because

his own disclosures reveal that he does not personally own

the asserted trade secrets.

    After the Court entered the dismissal order and Defend-

ants provided notice to counsel for Azima of their intent to

file a motion to dismiss for lack of subject matter juris-

diction, Azima filed his sixth request to initiate and pursue




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discovery. See Dkt. 7, 36, 52, 61, 64, 66. The Court rejected

the prior requests because a motion to dismiss should be

resolved before discovery commences.           See Dkt. 30, 54, 65.

As the Court recognized, “the general local practices in this

district and [] the Court’s discretionary authority to manage

its cases on its docket” counsel against “the commencement of

general discovery before . . . a final ruling on Defendants’

motion to dismiss.”     Dkt. 54 at 36-37.

    That same rule and same logic continue to apply.            Indeed,

they apply now with greater force, because what is now in

doubt is the Court’s subject matter jurisdiction over what is

left of the case.     Without “subject-matter jurisdiction over

the underlying action,” any order for merits discovery is

“void.”   United States Catholic Conf. v. Abortion Rts. Mobi-

lization, Inc., 487 U.S. 72, 76 (1988).           Accordingly, “i[t]

is a recognized and appropriate procedure for a court to limit

discovery proceedings at the outset to a determination of

jurisdictional matters,” to the extent such discovery is nec-

essary.   Id. at 79-80.

    The Court in any event has discretion to manage its

docket and its resources as it sees fit.              See Williams v.
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Pegasus Residential, LLC, 2019 WL 8586707, at *1 (M.D.N.C.

May 3, 2019).     In the exercise of its inherent discretion,

the Court should decide the pending motion and satisfy itself

whether it has jurisdiction before beginning discovery.

    For the foregoing reasons, Defendants respectfully re-

quest that the Court deny Azima’s motion for an initial pre-

trial conference and to initiate the Rule 26(f) and Local

Rule 16.1(f) conferences and reporting process.

    Respectfully submitted this 30th day of December, 2021.

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                    WORD COUNT CERTIFICATION

     Pursuant to Local Rule 7.3, I hereby certify, subject to
Fed. R. Civ. P. 11, that the accompanying brief contains 441
words, according to the word count feature of the word pro-
cessing system used to prepare the brief. Accordingly, the
brief does not exceed the 6,250 word limitation.

Respectfully submitted this 30th day of December, 2021.

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                      CERTIFICATE OF SERVICE

     I hereby certify that on this 30th day of December, 2021,
I electronically filed the foregoing Defendants’ Response To
Plaintiff’s Emergency Motion For Leave To File Supplemental
Information Related To Objection To Recommended Ruling And
For Leave To Commence Discovery In Light Of Newly Discovered
Evidence with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the fol-
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